NORTH CAROLINA IN THE GENERAL COURT OF JUSTICE
SUPERIOR COURT DIVISION
DURHAM COUNTY Case No.:

21CVS 1708
SHEILA J. SPANN, oy
Plaintiff, 7 ) ;
V. a COMPLAINT
) (Jury Trial Demanded)
CARRABBA’S ITALIAN GRILL, LLC
Defendant.

 

NOW COMES Plaintiff, complaining of Defendants, and alleges and says as follows:
I, PARTIES AND JURISDICTION

1. Plaintiff, Sheila J. Spann, (hereinafter referred to as “Plaintiff’), is a citizen and resident of
Wayne County, Michigan.

2. Upon information and belief, Defendant Carrabba’s Italian Grill, LLC (hereinafter referred
to as “Defendant”) is a citizen and resident of Hillsborough County, Florida, with its registered
agent located in Mecklenburg County, North Carolina.

3. Defendant has been properly served with the complaint and summons in this matter pursuant
to the applicable provisions of the North Carolina General Statutes and the North Carolina Rules of

Civil Procedure, and there are no outstanding issues of process, service of process, or jurisdiction.

Il. FACTUAL ALLEGATIONS

4. On December 15, 2019, Plaintiff was dining at Carrabba’s Italian Grill at 5312 New Hope

Commons Ext., Durham, NC 27707.
5. At the same time and place referred to above, Plaintiff proceeded to the restroom.

6. On her way to the restroom, suddenly and without warning, Plaintiff slipped on a wet and

greasy floor and fell.

7. Defendant’s failure to fix the dangerous condition and/or failure to warn Plaintiff of the

dangerous condition caused Plaintiff to slip and fall.

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8. As aresult of the slip and fall described above, Plaintiff suffered serious and painful injuries
set forth more fully herein below.
9. The negligent acts and omissions of the Defendant described hereinafter were the sole cause

of the slip and fall referred to above.

Il. ALLEGATIONS OF NEGLIGENCE

Incorporating ail previous allegations, the Plaintiff alleges and says:
10. Defendant was negligent and grossly negligent in that it:
(a) Failed to warn Plaintiff of the dangerous condition on the premises;

(b) Knew, or should have known, of the hazardous, dangerous, and unsafe condition
created by the overflowing toilet in its restroom;

(c) Failed to inspect, discover, remove, repair or correct the condition;

(d) Failed to take reasonable precautions to protect Plaintiff and others from the dangerous
condition;

(e) Failed to make timely inspections of their premises such that they might discover the
dangerous condition;

(f) Created the dangerous condition by their own conduct;

IV. DAMAGES

Incorporating all previous allegations, the Plaintiff alleges and says:

11. As a direct and proximate result of the negligence of the Defendant as described herein,
Plaintiff has suffered serious, painful, and debilitating bodily injuries.

12. As a direct and proximate result of the negligence of the Defendant as described herein, the
Plaintiff has incurred medical expenses for the medical care and treatment of her bodily injuries
and is informed and believes that such treatment and expenses shall continue.

13. As a direct and proximate result of the negligence of the Defendant as described herein, the
Plaintiff incurred lost wages.

14. As a proximate and foreseeable result of the negligence of the Defendant as described

herein, the Plaintiff has endured physical pain and suffering, mental anguish, and emotional

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distress, and is informed and believes that she will continue to incur pain, suffering, mental
anguish, and suffer emotional distress for an undetermined amount of time into the future.

15. As a proximate and foreseeable result of the negligence of the Defendant as described
herein, the Plaintiff has suffered permanent and lasting injuries that may at some time require
future treatment.

16. As a proximate and foreseeable resuit of the negligence of the Defendant, Plaintiff has
sustained damages and is entitled to recover from the Defendant in an amount in excess of

Twenty-Five Thousand Dollars ($25,000.00).

IV. PRAYER FOR RELIEF

WHEREFORE, Plaintiff seeks judgment against the Defendant as follows:

17. That the Plaintiff have and recover from the Defendant for general and compensatory
damages for a sum in excess of $25,000.00 for past and future medical bills, pain and suffering,
lost wages for Plaintiff;

18. Interest at the maximum rate allowable by law allowed beginning from the date of the
filing of this action;

19, The costs of this action;

20. That the Plaintiff be awarded reasonable attorney’s fees;

21. That the costs and fees in this action be taxed against the Defendant; and

22. For all such other and further relief as the Court may deem just and proper.

This the _\S day of February, 2021.

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